
*717OPINION.
Phillips :
Under the circumstances of this case the cost to petitioner of the land acquired in 1920 is the amount of the cash paid plus the value of the option. The issue of fact for decision is the value of the option at the time acquired by petitioner. The testimony of four men, qualified to express an opinion upon this value, placed it at $60,000 or more. . There is no testimony to contradict and much to support this value. Stress has been laid by counsel for the respondent upon the act of the owner of the property in granting, extensions of the .option without any cash payments-. It. would, seem,, *718however, that the owner had much to gain from the successful development by Selover and his associates of the property lying next to the ocean; that the proper course was to encourage that development; and that extensions of the option were nothing more than good business.
Furthermore, there is testimony that before Selover and his associates started development work on the first tract, there was a gentleman’s agreement with the Huntington interests that the lands here in question and others might be acquired at a fixed price. The option and extensions were given in pursuance of this understanding. The circumstances bear out the opinion testimony. The cost of the property should be recomputed accordingly.

Decision will be entered under Rule 50.

